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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                          DEL RIO DIVISION

OSCAR ORONA IANF of N.O., a minor, §
CRISTINA OLIVAREZ IANF of K.O., §
a minor, and ANGELICA RODRIGUEZ §
IANF of L.G., a minor, JOSE FLORES, §
Individually and as Representative     §
of the Estate of J.F., JR., deceased;  §
MANUEL LOZANO, Individually,           §
LYLIANA GARCIA, Individually;          §
ALEJANDRO GARCIA, Individually         §
and as Representative of the Estate of §
Irma Garcia, deceased; and ELSA        §
AVILA,                                 §
                                       §
       Plaintiffs,                     §
                                       §
v.                                     §   C.A. NO.: 2:24-CV-00049-AM
                                       §
CHRISTOPHER KINDELL, an                §
individual; VICTOR ESCALON, an         §
individual; JOEL BETANCOURT,           §
an individual; JUAN MALDONADO,         §
an individual; CRIMSON ELIZONDO, §
an individual; RICHARD BOGDANSKI, §
an individual; LUKE WILLIAMS, an       §
individual; UVALDE CONSOLIDATED §
INDEPENDENT SCHOOL DISTRICT §
AND/OR UCISD POLICE                    §
DEPARTMENT; PEDRO "PETE"               §
ARREDONDO, an individual; ADRIAN §
GONZALES, an individual; MANDY         §
GUTIERREZ, an individual, JESUS        §
"JJ" SUAREZ, an individual, TEXAS §
DEPARTMENT OF PUBLIC SAFETY §
OFFICERS DOE'S 1-84; and               §
MATOROLA SOLUTIONS, INC.,              §
                                       §
       Defendants.                     §
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                    NOTICE OF APPEARANCE OF COUNSEL

       Please take notice that Clay T. Grover of the law firm of Rogers, Morris & Grover,

L.L.P., appears as counsel for Mandy Gutierrez.

                                          Respectfully submitted,
                                          ROGERS, MORRIS, & GROVER, L.L.P.


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                                          ATTORNEY FOR MANDY GUTIERREZ


                            CERTIFICATE OF SERVICE

       I hereby certify that on June 3, 2024, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system which will send electronic notification
of such filing to all counsel of record.



                                          __________________________________
                                          Attorney for Mandy Gutierrez




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